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                   UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
________________________________________________________________

JENNIFER DUNN,                       )
                                     )
      Plaintiff,                     )
                                     )
v.                                   )   Case No.     2:10-cv-2745JTF/cgc
                                     )
ALLSTATE INSURANCE COMPANY,          )
                                     )
      Defendant.                     )


                            ORDER OF DISMISSAL


      This action was removed from the Circuit Court of Shelby County

to this Court on October 20, 2010. The Magistrate Judge ordered the

parties to participate in mediation efforts in the Rule 16(b)

Scheduling    Order   entered   on   November   22,   2010.   [DE   6]    Per

Administrative Order No. 2012-16, this matter was reassigned on

August 3, 2012.       The parties were again directed to engage in

mediation discussions and report back to the Court. [DE 33] As a

result of their efforts, a Stipulation of Dismissal pursuant to Rule

41(a)(1) has been filed. [DE 35] Accordingly, this case is herein

DISMISSED with prejudice.

      IT IS SO ORDERED, this the 9th day of January, 2013.



                                         s/John T. Fowlkes, Jr.
                                         JOHN T. FOWLKES, JR.
                                         UNITED STATES DISTRICT JUDGE
